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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE
  ___________________________________
                                      :
  IN RE: BENICAR (OLMESARTAN)         : Master Docket
                                      : No. 15-2606 (RBK/JS)
  PRODUCTS LIABILITY LITIGATION       :
                                      :
                                      :
                                      :
  ___________________________________:

                        MEMORANDUM OPINION AND ORDER

        The   discovery    issue   before    the   Court   is   whether   two   of

  plaintiffs’    medical    experts   must    produce      redacted   copies    of

  patient medical records they considered in forming their expert

  opinions. 1 The Court received the parties’ written submissions

  and held oral argument on March 8, 2017. For the reasons to be

  discussed, plaintiffs will be Ordered to produce the requested


  1 The Court reframed for the parties the issue to be decided.
  Defendants’ March 3, 2017 letter application [Doc. No. 1039]
  seeks an Order barring plaintiffs’ experts from testifying “with
  regard to their experience with patients on olmesartan or their
  review of the clinical charts of such patients.” The application
  also seeks an Order stating the experts may not rely upon their
  “experience with patients on olmesartan or their review of the
  clinical charts of such patients as set forth in their reports,
  deposition testimony or live testimony.” Id. at 2. If plaintiffs
  are required to produce the requested records the proposed
  sanction is disproportional to the alleged harm caused by
  plaintiffs’ failure to produce. See Younes v. 7-Eleven, Inc.,
  312 F.R.D. 692, 713 (D.N.J. 2015)(citation and quotation
  omitted)(just sanctions are those that impose proportional
  discipline for the harm caused). The striking of plaintiffs’
  expert testimony is too severe a sanction when the alleged
  prejudice to defendants can be cured by producing the medical
  records at issue. All doubts should be resolved in favor of
  reaching a decision on the merits. Id.
                                        1
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  records.

  Background

        In   brief      summary,    this         is        an   approximate     1800     case

  Multidistrict        Litigation      involving                defendants’      olmesartan

  prescription    drugs.        Plaintiffs        allege        the    drugs    caused   the

  sprue-like     enteropathy        symptoms           they       complain      about.    In

  accordance     with     the     Court’s        schedule,         plaintiffs      recently

  produced their general and specific causation expert reports.

  The two experts at issue, Dr. Benjamin Lebwohl and Dr. Stephen

  M. Lagana, were recently deposed and confirmed they considered

  certain    patient     medical    records           in    reaching    their    opinions. 2

  Plaintiffs object to producing the records.

  Discussion

        The resolution of this discovery dispute is dictated by

  Rule 26(a)(2)(B)(ii) which provides that, “the facts or data

  considered by the [expert] witness” in forming his/her opinions

  must be disclosed. The advisory committee note accompanying the

  2010 amendments to Rule 26(a)(2)(B) explains that:

        Rule 26(a)(2)(B)(ii) is amended to provide that
        disclosure include all “facts or data considered by


  2 Drs. Lebwohl and Lagana are employees of Columbia Presbyterian
  University Hospital. Dr. Lebwohl is a gastroenterologist and
  celiac specialist and has a Masters in epidemiology. Dr. Lagana
  is a pathologist with a focus on gastrointestinal pathology.
  Both doctors have been involved in the clinical diagnosis and
  treatment   of   patients  with   olmesartan  enteropathy.   See
  Plaintiffs’ March 2, 2017 Letter Brief (“LB”) at 1-2, Doc. No.
  1041.
                                             2
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        the witness in forming” the opinions to be offered
        …[.]

        …

        The refocus of disclosure on “facts or data” is meant
        to limit disclosure to material of a factual nature by
        excluding theories or mental impressions of counsel.
        At the same time, the intention is that “facts or
        data” be interpreted broadly to require disclosure of
        any material considered by the expert, from whatever
        source,   that   contains  factual  ingredients.   The
        disclosure obligation extends to any facts or data
        “considered” by the expert in forming the opinions to
        be expressed, not only those relied upon by the
        expert. (Emphasis supplied). 3

        A    majority   of    courts    have   taken    the     “pro-discovery”

  position    that   “pursuant    to    Rule   26(a)(2)(B),      a   party      must

  disclose all information provided to its testifying expert for

  consideration in the expert’s report[.]” Synthes Spine Co., L.P.

  v. Walden, 232 F.R.D. 460, 463 (E.D. Pa. 2005); F.T.C. v. Lane-

  Labs, USA, Inc., C.A. No. 00-CV-3174 (DMC), 2008 WL 4003927, at

  *1   (D.N.J.   Aug.   25,   2008)    (“[a]lthough    the    case   law   is    not

  uniform, the overwhelming majority of courts have required the

  production of any information considered by a testifying expert

  in reaching his or her opinion, regardless of any privilege that

  may otherwise exist”); Beachfront North Condominium Association,

  3 Rule 26(a)(2)(B) was amended in 2010 to require disclosure of
  the “facts or data” considered by an expert rather than “the
  data or other information” considered by an expert. The
  amendment now provides work-product protection to draft expert
  reports and communications between the expert and counsel.
  However, the amendment did not alter the broad definition of
  “considered.” Finlkowski v. Perry, C.A. No. 11-5139, 2012 WL
  2527020, at *3 (D.N.J. June 29, 2012); see also Rule
  26(b)(4)(C).
                                         3
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  Inc. v. Lexington Ins. Co., C.A. No. 14-6706 (RKB/JS), 2015 WL

  4663429, at *3 (D.N.J. Aug. 5, 2015)(recon. den. March 9, 2016);

  see also Regional Airport Auth. of Louisville v. LFG, LLC, 460

  F.3d 697, 714 (6th Cir. 2006)(finding that Rule 26 creates a

  bright-line rule requiring disclosure of all documents provided

  to testifying experts); Dyson Technology Ltd. v. Maytag Corp.,

  241   F.R.D.   247,       251   (D.    Del.           2007)(holding         that   a   party    is

  entitled to production of information considered by the trial

  expert in formulating his/her opinion, including all information

  he or she reviewed, reflected upon, read and/or used). “[T]his

  bright-line        rule     serves          important              policy     considerations,

  including    the    facilitation            of    effective          cross-examination         and

  the   resolution      of    uncertainty               as   to      the    discoverability       of

  documentation divulged to a testifying expert.” Synthes Spine,

  232 F.R.D. at 464. The Synthes Spine                               decision also applied a

  broad    definition        of    “considered”                 in     Rule    26(a)(2)(B)        by

  requiring the disclosure of all information a testifying expert

  “generates,    reviews,         reflects              upon,     reads,       and/or     uses    in

  connection with the formulation of his opinions, even if such

  information is ultimately rejected.” Id. at 463.

        The   Court     adopts          the        majority          view     regarding     expert

  disclosure requirements under Rule 26(a)(2)(B). The Court also

  adopts the definition of “considered” from Synthes Spine. These

  holdings comport with the comment to Rule 26 and are consistent

                                                    4
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  with the language and spirit of the Rule. Given the Court’s

  ruling the record in the case compels the conclusion that the

  medical     records   considered       by       plaintiffs’         experts       must     be

  produced.

        The    record    is     clear        that       Drs.       Lebwohl    and     Lagana

  “considered” the referenced patient medical records in reaching

  their expert opinions. Dr. Lebwohl makes this clear at p. 6 of

  his expert report wherein he wrote, “I reviewed the charts of

  our most treatment-resistant patients[.]” He also confirmed at

  his deposition that he relied upon the charts in reaching his

  ultimate     conclusion       and     opinion.         See       February     10,        2017

  Transcript (“Tr.”) at 184:17 to 186:18. In fact, Dr. Lebwohl

  testified the chart review “confirmed [his] opinion.” Id. at

  186:14-18. Similarly, Dr. Lagana testified that as part of his

  investigation into olmesartan enteropathy he reviewed the charts

  of   sixteen   patients     who     were    exposed         to   olmesartan   who        were

  classified as having seronegative celiac disease. February 7,

  2017 Tr. at 24:16 to 26:6. Dr. Lagana confirmed that his review

  “contributed    to    [his]    thinking         and    it    seemed    to   [him]        well

  beyond what you could imagine would be a chance association.”

  Id. at 26:16 to 27:9. 4


  4 During oral argument plaintiffs’ counsel argued their experts’
  record review was done years ago and before the experts were
  retained for trial. This argument was not explicitly made in
  plaintiffs’ written submissions. Further, the record does not
  clearly substantiate plaintiffs’ assertion. Even if true,
                                              5
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         Plaintiffs’     arguments      in       opposition        to    producing     the

  requested medical records are not convincing. Plaintiffs first

  argue the medical records “do not belong” to their experts, they

  do not own or control the records, and they do not have the

  right to produce the records. March 2, 2017 LB at 2. This broad

  statement is not substantiated by any competent evidence but

  instead is merely a conclusory statement in plaintiff’s letter

  brief. Nonetheless, since the experts were apparently able to

  easily access the requested records to review them, it is likely

  they   have   “possession,      custody        or     control”    of   the   records. 5

  Federal    courts    construe      “control”         broadly.    Haskins     v.    First

  American   Title     Ins.   Co.,    C.A.       No.    10-5044    (RMB/JS),    2012    WL

  5183908, at *1 (D.N.J. Oct. 18, 2012). Control exists where a

  party has the legal right or ability to obtain the documents

  from   another   source     upon    demand.          Id.   (citation    omitted).     It

  appears from the record in the case that plaintiffs’ experts

  have the ability to obtain the medical records they reviewed.

         Plaintiffs also argue it would be burdensome to identify,



  however, the Court’s ruling would be the same. Records
  considered by trial experts in reaching their expert opinions
  must be produced. There is no temporal limitation in Rule
  26(a)(2)(B). Of course, the Court is not adopting the absurd
  notion that medical experts must produce all of their training
  and scholastic documents. This ruling is only directed to the
  current    situation    where   plaintiffs’   testifying   experts
  considered and relied upon a discrete and identifiable set of
  records.
  5
    If the experts do not have possession, custody or control of the
  records this must be substantiated with affidavits.
                                             6
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  collect,    redact      and    produce       the    requested      records.      However,

  plaintiffs did not provide any proof to support this objection.

  This being the case, plaintiffs’ burdensome and proportionality

  objections      are    rejected.       Younes,      312   F.R.D.     at    704    (citing

  cases)(broad-based,           non-specific         and    general     objections      are

  meaningless and will be disregarded). Moreover, plaintiffs are

  concerned a ruling in defendants’ favor may require testifying

  experts to produce hundreds or thousands of patient records.

  Plaintiffs’      concern       is    misguided.      Here,       plaintiffs’     experts

  testified       they    considered           a     discrete,       identifiable       and

  manageable number of records.                Dr. Lebwohl only looked at charts

  of the most treatment-resistant patients. See Report at 6. Dr.

  Lagana only looked at the records of 16 patients. Therefore, it

  does not appear to be a material burden for plaintiffs’ experts

  to    produce     the     requested          records.      Given     the     importance

  plaintiffs      place    upon       their    experts’      opinions       and    clinical

  experience, plaintiffs’ proportionality objection is rejected. 6

        Last,     plaintiffs          argue    that    if    the     requested      medical

  records must be produced, “[t]he most qualified experts, those

  who   actually    treat       and    study    patients     with     the   condition   at

  issue, would never agree to act as an expert” because of the

  expense and disruption it would cause. Id. at 3. Plaintiffs’


  6 To be sure, the Court is not ruling that hundreds or thousands
  of records considered by an expert do not have to be produced.
  The Court will address the issue when and if it arises.
                                               7
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  hyperbole is rejected. No evidence has been presented to support

  plaintiffs’ claim. Moreover, plaintiffs’ concerns do not trump

  the Federal Rules of Civil Procedure. Rule 26 and the applicable

  case law require testifying experts to produce all facts and

  data    they    consider       in   reaching        their     opinions.        There   is    no

  exception      for    paid     trial      experts     who     happen      to   be   treating

  physicians.         See   Lithuanian       Commerce        Corp.,       Ltd    v.   Sara    Lee

  Hosiery,       177    F.R.D.    245,      271       (D.N.J.      1997)(striking        expert

  testimony      of    physician      regarding        the    medical      and    therapeutic

  benefits of L’eggs Pantyhose who did not produce the medical

  records of his patients upon which he relied for his opinions);

  In re Orthopedic Bone Screw Products Liability Litigation, No.

  MDL 1014, 1996 WL 900345 (E.D. Pa. July 16, 1996)(holding that

  defendant’s expert would not be permitted to testify regarding

  his experience implanting pedicle screws unless he produced his

  redacted patient files or secured patient waivers to produce the

  files).

         To support their argument plaintiffs rely on In re Asbestos

  Products Liability Litigation (No. VI), 256 F.R.D. 151 (E.D. Pa.

  2009). The case is easily distinguishable because it addressed

  what records a doctor who examined patients to determine if they

  had an     asbestos       related      disease       had    to   produce.       Unlike     this

  case,    In    re    Asbestos       did    not      address      Rule    26(a)(2)(B)        and

  whether testifying experts had to produce medical records the

                                                  8
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  expert    considered    and    relied   upon     in   reaching    their       expert

  opinions. Plaintiffs’ reliance on Horizon Blue Cross Blue Shield

  of New Jersey v. Transitions Recovery Program, C.A. No. 10-3197

  (RBK/KMW),     2015    WL    8345537   (D.N.J.      Dec.   8,   2015),   is    also

  misplaced.      That   case     addressed     whether      experts   should      be

  excluded under Daubert. The case did not address whether medical

  records an expert considered in reaching his opinions had to be

  produced in discovery.

  Conclusion and Order

         For the reasons discussed above, it is hereby ORDERED this

  13th     day   of   March,    2017,    that    defendants’      March    3,     2017

  application is GRANTED in part and DENIED in part. By March 31,

  2017, Drs. Lebwohl and Lagana shall produce or make available

  for    inspection      by     defendants      the     medical     records       they

  “considered” in reaching their expert opinions. These are the

  records identified in the experts’ reports and/or depositions.

  The records may be redacted to remove all personal identifying

  information; and it is further

         ORDERED that if Drs. Lebwohl and Lagana allege they are not

  in possession, custody or control of the requested records, they

  shall produce by March 31, 2017, affidavits supporting their

  claim.     The affidavits shall identify the present location and

  custodian of the requested records and shall include sufficient

  identifying information for a party to subpoena the records; and

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   it is further

         ORDERED defendants’ request to bar or limit the testimony

   of   Drs.   Lebwohl     and   Lagana    is   DENIED   without   prejudice   to

   defendants’ right to re-file their application if the requested

   records     are   not   produced   or    made   available   for   inspection.

   Defendants’ application may not be filed without leave of Court.



                                          s/Joel Schneider
                                          JOEL SCHNEIDER
                                          United States Magistrate Judge




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